    Case 1:19-cv-00503-NT Document 18 Filed 08/14/20 Page 1 of 5                                PageID #: 53




                                UNITED STATES DISTRICT COURT
                                        District of Maine

                                                           )
    RILEY JEAN HALL,                                       )   Docket No. 1:19-CV-00503-NT
                            Plaintiff                      )
                                                           )
    v.                                                     )
                                                           )
    AROOSTOOK COUNTY JAIL and                              )
    WILLIAM GRANT,                                         )
                       Defendants                          )
                                                           )


     DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT WITH INCORPORATED
                         MEMORANDUM OF LAW


         NOW COME Defendants, through counsel, and pursuant to Fed.R.Civ.P. 56(b), move for

summary judgment in their favor. Filed in connection with this motion is the Defendants’

Statement of Material Facts pursuant to Local Rule 56(b).

                                        MEMORANDUM OF LAW

                                           I. INTRODUCTION

         Plaintiff’s Complaint alleges that Defendant Grant touched his genital area during a search

when the Plaintiff was booked into the Aroostook County Jail. The Complaint is bought against

the Aroostook County Jail1 and Defendant William Grant.

                                                  II. FACTS

         The undisputed material facts of this case are set forth in Defendants’ Statement of Material

Facts in Support of Motion for Summary Judgment (hereinafter “DSMF”). The Defendants



1
 Although the Aroostook County Jail, as an arm of the County, may not be independently liable under 42 U.S.C. §
1983, the Defendants recognize that this will be considered a claim against Aroostook County. See Allen v. York Cty.
Jail, 2003 U.S. Dist. LEXIS 1358, *18-24 (D. Me. Jan. 30, 2003).
     Case 1:19-cv-00503-NT Document 18 Filed 08/14/20 Page 2 of 5                                        PageID #: 54




incorporate the DSMF into this memorandum of law.2

                                             III. LEGAL ARGUMENT

A.          Standard of Review

            Summary judgment should be granted when the record evidence demonstrates “that there

is no genuine dispute as to any material fact and that the movant is entitled to judgment as a matter

of law.” Fed.R.Civ.P. 56(a). The moving party bears the burden of demonstrating the lack of

evidence to support the non-moving party’s case. Celotex Corp. v. Catrett, 477 U.S. 317 (1986).

The record is viewed in the light most favorable to the non-moving party, and that party must be

given the benefit of reasonable inferences drawn from properly asserted facts. See Nicolo v.

Philip Morris, Inc., 201 F.3d 29 (1st Cir. 2000). Summary judgment should be entered “against

the party who fails to make a showing sufficient to establish the existence of an element essential

to that party’s case, and on which that party will bear the burden of proof at trial.” Celotex Corp.,

477 U.S. at 322.

B.          Defendant Grant is entitled to summary judgment on Plaintiff’s claims because he did not
            search Plaintiff Hall.

            Hall alleges that Officer Grant touched him inappropriately during the booking process at

the Aroostook County Jail in early 2018. Hall was incarcerated at the Aroostook County Jail on

February 1, 2018. DSMF ¶ 1. The duty intake officer was Logan Jay. DSMF ¶ 2. Logan Jay

was responsible for booking Hall into jail. Jay completed an intake form and housing flowchart.

DSMF ¶ 3. Officer Jay conducted a clothing and pat-down search of Hall. DSMF ¶ 4. Hall

was not strip searched. DSMF ¶¶ 6, 7. Officer Jay was the only officer present during the

clothing and pat-down search. DSMF ¶ 5. Officer Grant did not conduct any searches of Hall


2
    Plaintiff failed to respond to interrogatories and a document request. Plaintiff also failed to appear for his deposition.
                                                               2
 Case 1:19-cv-00503-NT Document 18 Filed 08/14/20 Page 3 of 5                          PageID #: 55




when he entered the jail on February 1, 2018 or at any time while Hall was incarcerated at the jail

in 2018. DSMF ¶¶ 8-10. For this reason, Grant is entitled to summary judgment on this claim.

C.     Defendant Aroostook County Jail is entitled to summary judgment on Plaintiff’s municipal
       liability claim because there were no underlying constitutional violations.

       If an “officer has inflicted no constitutional harm, . . . the municipality . . . can [not] be held

liable.” Wilson v. Town of Menden, 294 F.3d 1, 6 (1st Cir. 2002). In this case, there has been no

violation of Plaintiff’s constitutional rights.    For this reason, summary judgment should be

granted in favor of the Aroostook County Jail.

D.     Defendant Aroostook County Jail is entitled to summary judgment on the municipal
       liability claim because there is insufficient evidence of a policy, custom, or practice which
       would be the basis for liability under 42 U.S.C. § 1983.

       Even if the Plaintiff can establish a constitutional violation, there is insufficient evidence

of a policy, custom or practice to support municipal liability. It is well settled that a plaintiff who

seeks to impose liability on a municipality under Section 1983 must prove that either official

policies, or widespread and pervasive practices and customs, were responsible for the deprivation.

Connick v. Thompson, 563 U.S. 51 (2011). In order to be liable for an unconstitutional custom or

practice that custom or practice must be “so well settled and widespread that the policymaking

officials of the municipality can be said to have either actual or constructive knowledge of it yet

did nothing to end the practice.” Bordanaro v. McLeod, 871 F.2d 1151, 1556 (1st Cir. 1989).

“[E]vidence of a single event alone cannot establish a municipal custom or policy.” Id.

       In this case, there is no evidence of unconstitutional practices or customs that were so well

settled or widespread that the policymaking officials can be said to have either actual or

constructive knowledge of them and yet done nothing to end the practices. There are several

policies at the Aroostook County Jail regarding the searching inmates and there is no evidence that

                                                   3
 Case 1:19-cv-00503-NT Document 18 Filed 08/14/20 Page 4 of 5                     PageID #: 56




these policies are unconstitutional or that the county had other unconstitutional policies, customs

or practices concerning searching inmates. DSMF, ¶¶ 12-14. In addition, Hall’s allegations

concern a one-time incident. He does not allege that other inmates were treated in a similar

manner or that there was a widespread practice. For this reason, summary judgment should be

granted in favor of Defendant Aroostook County Jail.

                                      IV. CONCLUSION

       For all of the foregoing reasons, Defendants Aroostook County Jail and William Grant ask

the Court to enter summary judgment in their favor pursuant to Fed.R.Civ.P. 56 on Plaintiff’s

Complaint.


Dated: August 14, 2020                                 /s/ Peter T. Marchesi
                                                     Peter T. Marchesi, Esq.
                                                     Wheeler & Arey, P.A.
                                                     Attorneys for Defendants
                                                     27 Temple Street
                                                     Waterville, ME 04901




                                                4
 Case 1:19-cv-00503-NT Document 18 Filed 08/14/20 Page 5 of 5                      PageID #: 57




                           UNITED STATES DISTRICT COURT
                                   District of Maine


                                                    )
 RILEY JEAN HALL,                                   )    Docket No. 1:19-CV-00503-NT
                       Plaintiff                    )
                                                    )
 v.                                                 )
                                                    )
 AROOSTOOK COUNTY JAIL and                          )
 WILLIAM GRANT,                                     )
                    Defendants                      )
                                                    )


                                   CERTIFICATE OF SERVICE


       I, Peter T. Marchesi, Esq., attorney for Defendants, hereby certify that:

       ●      Defendants’ Motion for Summary Judgment


has/have been served this day on Plaintiff by filing with the Clerk of Court using the CM/ECF
system which will send notification of such filing(s) to the following:

              None

       Copies of the above documents have been provided to the Plaintiff via United States
Mail, postage prepaid, at the following address:

              Riley Jean Hall
              87 Exchange Street
              Presque Isle, ME 04769


Dated: August 14, 2020                                    /s/ Peter T. Marchesi
                                                        Peter T. Marchesi, Esq.
                                                        Wheeler & Arey, P.A.
                                                        Attorneys for Defendants
                                                        27 Temple Street
                                                        Waterville, ME 04901

                                                5
